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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

__________________________________________
PETRINA SMITH, et al.,                     )
                                           )
            and                            )
                                           )
DREXEL ANDERSON, et al.,                   )                 Nos. 19-1348C; 20-1878 C
                                           )
                  Plaintiffs               )                 (Judge Lerner)
            v.                             )
                                           )
THE UNITED STATES,                         )
                                           )
                  Defendant                )
__________________________________________)

     JOINT STATUS REPORT AND MOTION TO EXTEND THE DEADLINE FOR
                             DISCOVERY

        Pursuant to this Court’s April 16, 2024 order, ECF No. 117, plaintiffs, Petrina Smith, et

al. and Drexel Anderson, et al., and defendant, the United States, respectfully submit this joint

status report informing the Court whether the parties expect to meet the May 31, 2024 deadline

for completing fact discovery and the status of their settlement discussions. Because the parties

do not anticipate being able to complete discovery by May 31, 2024, the parties respectfully

request that the Court extend the deadline to complete fact discovery to September 27, 2024, the

deadline to disclose expert witnesses to October 11, 2024, the deadline to exchange opening

expert reports to November 8, 2024, the deadline to exchange rebuttal expert reports by

December 6, 2024, and the close of expert discovery to January 10, 2025. Good cause supports

this request.

        Although the parties have made substantial progress in fact discovery, the parties do not

anticipate being able to fully complete fact discovery by the current deadline of May 31, 2024.

Plaintiffs are currently preparing interrogatory responses, which they intend to serve on counsel
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for the United States shortly (current deadline is May 22, 2024). After receiving and reviewing

these responses, the United States intends to depose several ACC plaintiffs. Further, counsel for

plaintiffs have indicated to counsel for the United States that they intend to conduct a Rule

30(b)(6) deposition of the United States. Additional time beyond May 31, 2024 is needed for the

parties to complete depositions and any other remaining fact discovery.

       The parties have also discussed settlement on several occasions. However, the parties

believe that sustained in-depth settlement discussions would be most productive after the parties

have had an opportunity to conduct additional discovery, including additional deposition

testimony. After conducting additional discovery, the parties intend to dedicate a substantial

amount of time during the remaining duration for fact and expert discovery to discuss settlement.

Accordingly, to provide additional time for the parties to take fact discovery and provide

sufficient time for the parties to engage in in-depth settlement conversations, the parties

respectfully propose that the Court adopt the following discovery schedule:

                                      Proposed Discovery Schedule

                Event                        Current Deadline              Proposed Deadline

 Close Of Fact Discovery                       May 31, 2024                September 27, 2024

 The Parties Shall Disclose Their              June 14, 2024                October 11, 2024
 Expert Witnesses

 The Parties Shall Exchange                     July 12, 2024               November 8, 2024
 Opening Expert Witness Reports

 The Parties Shall Exchange                    August 9, 2024               December 6, 2024
 Rebuttal Expert Witness Reports

 Close Of Expert Discovery                  September 13, 2024              January 10, 2025


       In addition to providing the parties with additional time to take discovery and to engage

in settlement discussions, an extension of the discovery schedule is warranted given previous and


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upcoming deadlines counsel for defendant and counsel for plaintiffs have in other matters. See,

e.g., for United States’ counsel: ASTi v. United States, Fed. Cl. No. 23-2201 (brief due on April

9, 2024, brief due on May 21, 2024, and oral argument scheduled for June 7, 2024); Jilin Forest

Industry Jinqiao Flooring Group Co. v. United States, Fed. Cir. No. 23-2245 (brief due on May

13, 2024); Baroque Timber Industries (Zhongshan) Co., Ltd. et al v. United States, CIT No. 23-

136 (brief due on June 4, 2024); Baytos, et. al. v. United States, Fed. Cl. No. 21-1085 (oral

argument scheduled for June 17, 2024); Silver State Land, LLC v. United States, Fed. Cl. No. 19-

688 (trial scheduled for July 22-26, 2024).

       For these reasons, the parties respectfully request that the Court enter an order extending

the existing deadlines as set forth above.


                                                 Respectfully submitted,

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                                                 Principal Deputy Assistant Attorney General

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Counsel for Smith Plaintiffs                     Counsel for Defendant
Dated: May 9, 2024



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       I HEREBY CERTIFY that on this 9th day of May 2024, the foregoing Joint Status Report

and Motion to Extend the Deadline for Discovery was electronically filed with the Clerk of the

Court using the ECF system, which sent notification of such filing to all counsel of record who

have enrolled and registered for receipt of filings via the Court’s ECF system.


                                                           /s/ Noor Haleem




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